608 In re Mathematical Applications Group, Inc. (MAGT)
Patent Litigation

84/07/13 1 MOTION, BRIEF,SCHEDULE OF ACTIONS, EXHIBITS AND CERT. OF SVC.
-- Mathematical Applications Group, Ine.; SUGGESTED
TRANSFEREE DISTRICT: S.D. New York; SUGGESTED TRANSFEREE
JUDGE: Hon. Abraham D. Sofaer or Hon. Lee P. Gagliardi (emh)

84/07/24 APPEARANCES -- MYRON GREENSPAN, ESQ. for Mathematical Applications

Group, Inc.; ROBERT T. EDELL, ESQ. for Dicomed Corp., R. C. Communications,
Inc. and ACCM Communication Industries, Inc. (ds)

2 RESPONSE -- Dicomed Corporation -- w/Exhibits A-L and cert.
of service (cds)

3 LETTER (re termination of A-1) -- signed by Charies C.
Winchester attorney for Autographix, Ine. (cds)

84/08/06 HEARING ORDER -- setting motion to transfer A-1 thru A-4 for

Panel Hearing in San Francisco, California on September 20,
1984. (ds)

84/08/14 REPLY, AFFIDAVIT OF MYRON GREENSPAN, EXHIBITS D-G --

Mathematical Applications Group, Inc. -- w/cert. of service
(eds)

84/08/03 REQUEST FOR EXTENSION OF TIME TO FILE REPLY -- Mathematical

Applications Group, Inc. -- GRANTED TO AND INCLUDING AUGUST
14, 1984 (eds)

84/08/20 SUPPLEMENTAL BRIEF, SECOND AFFIDAVIT OF EUGENE L. JOHNSON --

Mathamatical Applications Group, Inc. w/cert. of service
(eas)

84/09/18 SECOND SUPPLEMENTAL BRIEF -- filed by pitf. Mathematical
Applications Group, Inc. w/cert. of sve. (rh)

84/09/19 HEARING APPEARANCES ~- MYRON GREENSPAN, ESQ. for Mathematical
Applications Group, Inc.; ROBERT T. EDELL, ESQ. for Dicomed

Corp., R C Communications, Inc. and ACCM Communication
Industries, Inc. (ds)

84/10/02 POST HEARING BRIEF -- Mathematical Applications Group, Inc.
-~ w/cert. of sve. (emh)

 
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DOCKET ENTRIES

JUDICIAL PANEL ON MUD IDISTRICT LITIGATION

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84/10/05 : ORDER DENYING TRANSFER OF LITIGATION -- Notified involved
counsel, clerks and judges. (ds)

84/10/19 MOTION FOR RECONSIDERATION -- Mathematical Applications
; Group, Inc. -- w/cert. of sve. (emh)

84/11/14 LETTER/RESPONSE -- plitf. Dicomed Corp. and defts. RC
Communication and ACCM Communication Industries, Inc. w/cert.
of sve. (ds)

84/12/21 REPLY (to pldg. 10) -- Mathematical Applications Group, Inc.
-- w/Exhibits and cert. of service (cds)

 

85/02/07 ORDER DENYING MOTION FOR RECONSIDERATION pursuant to 28
U.S.C. §1407 -- Notified PASL and all judges and clerks (emh)

 

 

 
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Revised: 8/78
DOCKET NO. 608 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION |
CAPTION:

In re Mathematical Applications Group, Inc. (MAGI) Patent Litigation

 

 

SUMMARY OF LITIGATION

 

Hearing Dates Orders Trans feree
Sept. 20, 1984

 

4 Dates Filed Type Citation . District Name of Judge

Assigned From
10/5/84 MO Unpublished

 

 

 

 

Special Transferee Information

DATE CLOSED: October 5, 1984

 
LISTING OF INVOLVED ACTIONS
JPML FORM 1

DOCKET NO. 608 -- In re Mathematical Applications Group, Inc. (MAGI) Patent Litigation

 

 

Tntra= District]; Civil TransferedDate of
Office and Action Transfer} Docket [Pismissal
Number Caption Judge Number Date Number jor Remand

 

Mathematical Applications Group, Inc. |S.D.N.Y.| 83 Civ 192]-~— es rn ora &
v. Autographix, Inc. Sofaer

Dicomed Corp. v. Mathematical D.Minn. | 3-84-665
Applications Group, Inc. Alsop

54
Mathematical Applications Group, Inc. |S.D.N.Y.|-@8 Civ 4816
v. R C Communications, Inc. . Gagliard)

Mathematical Applications Group, Inc. |D.N.J. 84-2677D
v. ACCM Communication Industries, Debevois
Inc.

 

 

 

 

 

 

 

 
 

JPML Form 4

ATTORNEY SERVICE LIST

 

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 608 ~~ _In re Mathematical Applications Groun, Ine

(MAGI). Patent Lit igaiton

 

 

 

MATHEMATICAL APPLICATIONS GROUP, INC.
(A-1, A-3, A-4)

Myron Greenspan, Esquire

Lilling & Greenspan

123 Main Street

Suite 936

White Plains, New York 10601

 

DICOMED CORPORATION (A-2)
R C COMMUNICATIONS, INC.
ACCM COMMUNICATION INDUSTRIES, INC.

 

Robert T. Edell, Esquire
Merchant, Gould, Smith,
Edell, Welter & Schmidt
1600 Midwest Plaza Building
Mineapolis, Minnesota 55402

 

 

 
JPML FORM 3
p.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 608 -- In re Mathematical Applications Group, Inc. (MAGT)
Patent Litigation
Name of Par Named as Par in Following Actions
A-l

Autographix,..Inc.

Mathematical Applications
Group, Inc.

R C Communications, Inc.

ACCM Communication
Industries, Inc.

 
